                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA


UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )              Case No. 1:98-cr-77 -05
                                              )              Judge Edgar
                                              )
CALVIN NELSON TRAMBLE                         )


                                             ORDER


       On March 14, 2008, defendant and federal prisoner Calvin Nelson Tramble (“Tramble”)

made a pro se motion seeking the appointment of counsel to represent him in bringing a motion to

modify and reduce his term of imprisonment pursuant to 18 U.S.C. § 3582(c)(2) based on a

retroactive application of Amendments 706 to the United States Sentencing Guidelines. [Doc. No.

1097]. The Court granted the motion and appointed Federal Defender Services of Eastern Tennessee

(“FDS”) to represent Tramble in this matter. [Doc. No. 1073].

       On July 3, 2008, Tramble acting pro se wrote a letter to this Court. The Clerk of the District

Court is DIRECTED to docket and treat the letter [Doc. No. 1097] as a motion by Tramble to

modify and reduce his term of imprisonment pursuant to 18 U.S.C. § 3582(c)(2). The United States

government has filed a response opposing the motion [Doc. No. 1107], and Tramble has submitted

a pro se reply. [Doc. No. 1108].

       It is the Court’s order that Tramble be represented in this matter by FDS. The Court

appointed FDS as counsel for Tramble. On or before November 17, 2008, FDS shall file a brief or

memorandum of law on behalf of Tramble.

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       The United States Probation Office shall prepare and provide to the Court and to counsel for

the parties a supplemental sentencing report or Sentence Modification Report that addresses the

following issues:

       (1)    A summary of the procedural history of the sentencing decisions, including whether

              the original sentence was imposed pursuant to United States v. Booker, 543 U.S. 220

              (2005), reflected any departures or variances, or was reduced under U.S.S.G. § 5K1.1

              or Fed. R. Crim. P. 35(b);

       (2)    The original Sentencing Guideline calculation, and a recalculation of the Guideline

              range in accordance with U.S.S.G. § 1B1.10 and Amendment 706 as amended by

              Amendment 711 to the Sentencing Guidelines;

       (3)    A statement whether the movant is eligible for a reduction of sentence under 18

              U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 based on a retroactive application of

              Amendments 706 and 711, and the basis and reasons for reaching that conclusion;

       (4)    Any information available to the Probation Office from the United States Bureau of

              Prisons concerning the movant’s post-sentencing conduct or misconduct while

              imprisoned in federal custody;

       (5)    Any information available to the Probation Office concerning relevant public safety

              considerations, including the danger to any person or the community that may be

              posed by a reduction in the term of imprisonment. This includes information

              concerning the need to protect the public from the commission of further crimes by

              the movant; and

       (6)    A recommendation for the Court’s disposition of the 18 U.S.C. § 3582(c)(2) motion.


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      SO ORDERED.

      ENTER this the 21st day of October, 2008.


                                    /s/ R. Allan Edgar
                                   R. ALLAN EDGAR
                          UNITED STATES DISTRICT JUDGE




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